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 7                             IN THE UNITED STATES DISTRICT COURT

 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   HERMAN LEE HILL,

10                   Petitioner,                    No. CIV S-06-0262 FCD GGH P

11             vs.

12   JEANNE WOODFORD, et al.,

13                   Respondent.                    ORDER

14                                            /

15                   Petitioner has requested an extension of time to file his response to the December

16   16, 2008, findings and recommendations. Good cause appearing, IT IS HEREBY ORDERED

17   that:

18                   1. Petitioner's January 6, 2009, request for an extension of time is granted

19   (Docket No. 12); and

20                   2. Petitioner is granted thirty days from the date of this order in which to file his

21   objections to the December 16, 2008, findings and recommendations (Docket No.11).

22   DATED: January 13, 2009

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                                                             /s/ Gregory G. Hollows
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                                                            GREGORY G. HOLLOWS
25                                                          UNITED STATES MAGISTRATE JUDGE

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     hill0262.111
